Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 1 of 53 Page ID
                                #:12357


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     THE EXPORT-IMPORT BANK OF KOREA
10
11                                  UNITED STATES DISTRICT COURT
12                            FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
14   THE EXPORT-IMPORT BANK OF                    Case No. 2:16-cv-2056-MWF-JPR
     KOREA, an agency or instrumentality
15   of the Republic of Korea,                    SECOND AMENDED
                                                  COMPLAINT FOR:
16                             Plaintiff,
17                                                 (1) FRAUD;
                v.
18                                                 (2) NEGLIGENT
     ASI CORPORATION, a Delaware                       MISREPRESENTATION;
19
     corporation; ASI COMPUTER
20   TECHNOLOGIES, INC., a California                  AND
     corporation; BILL CHEN a/k/a TA
21                                                 (3) NEGLIGENT SUPERVISION
     WEI CHEN, an individual; HENRY
22   CHEN a/k/a HUNG CHEN, an
     individual; FRANCES CHOU a/k/a
23
     MEI LING CHOU a/k/a FRANCES                  DEMAND FOR JURY TRIAL
24   MEILING CHOU, an individual;
     CHRISTINE LIANG a/k/a
25
     CHRISTINE LI-YIN LIANG a/k/a LI
26   YIN CHU, an individual,
27
                               Defendants.
28


     AMERICAS 94066627 (2K)                                  SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 2 of 53 Page ID
                                #:12358


 1              Plaintiff The Export-Import Bank of Korea (“KEXIM”) complains of
 2   defendants and alleges as follows:
 3              1.            In October 2014, a company called Moneual, Inc., a manufacturer of
 4   computers and home appliances, shocked the nation of South Korea when it was
 5   exposed for perpetrating one of the biggest cases of fraud in Korea’s history. A
 6   Korean court described the scandal as a crime that “gravely undermined the trust of
 7   the society in general toward the financial system” and “caused a real risk that may
 8   put a damper on the trade insurance system and export finance system.” Through
 9   fraudulent means, Moneual received loans exceeding $3 billion and victimized ten
10   major Korean banks, including KEXIM.
11              2.            Moneual orchestrated an elaborate scheme of circular transactions
12   through which it sold fraudulent receivables based on purchase orders issued by
13   foreign importers, such as the defendants, ASI Corporation and its affiliate ASI
14   Computer Technologies, Inc., who participated in the fraud scheme. Moneual then
15   sold additional receivables to pay for the previously sold receivables, when in fact
16   little to nothing was exported. Moneual management personnel involved in the
17   fraud – including its Chief Executive Officer, Hong-seok Park, the ringleader and
18   CEO of Moneual – have been imprisoned and fined.
19              3.            Moneual secured the connivance of its foreign importers in its
20   fraudulent scheme by paying kickbacks to executives and employees of those
21   companies, including executives and employees of the defendants.
22              4.            Here, KEXIM sues one of the participants in Moneual’s fraudulent
23   scheme, a California-based importer of goods from Moneual, against whose
24   invoices from Moneual KEXIM paid Moneual approximately $52 million, of which
25   approximately $40 million has never been repaid. KEXIM also sues four
26   executives of that importer, each of whom actively participated in the scheme to
27   defraud KEXIM and each of whom accepted hundreds of thousands, or millions, of
28   dollars in kickbacks to do so.

                                                         -1-
     AMERICAS 94066627 (2K)                                              SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 3 of 53 Page ID
                                #:12359


 1                                                THE PARTIES
 2              5.            KEXIM is a bank incorporated under the laws of the Republic of
 3   Korea within the Ministry of Finance of Korea. KEXIM is an agency or
 4   instrumentality of the Republic of Korea as defined by 28 U.S.C. § 1603(b), with its
 5   principal place of business in Seoul, Korea.
 6              6.            KEXIM is the official export credit agency of the Republic of Korea.
 7   It provides comprehensive export loan and guarantee programs to support Korean
 8   enterprises conducting business overseas. Its primary services include export
 9   financing, trade financing, and guarantee programs to strengthen its clients’
10   competitiveness in global markets.
11              7.            KEXIM provides numerous types of financing, including export
12   promotion loans, export growth loans, export project loans, export facilitation
13   loans, overseas investment and project loans. KEXIM structures and funds major
14   infrastructure projects around the world, from Mexico to Morocco to Indonesia,
15   including such projects as the ENEC nuclear power project in Abu Dhabi and the
16   Bosporus tunnel project in Istanbul, Turkey, linking Europe and Asia. Project
17   Finance International, the leading reporter on the international project finance
18   industry, named KEXIM the 2012 Global Multilateral of the Year. In 2014 and
19   2015, loans by KEXIM supported total foreign investment of approximately $27
20   billion each year.
21              8.            Defendant ASI Computer Technologies, Inc. (“ASI Computer”) is a
22   California corporation. Former defendant ASI Corporation (“ASI Corp.”) is or
23   was a Delaware corporation. KEXIM is informed and believes and on that basis
24   alleges that ASI Corp. is or was an affiliate of ASI Computer; that ASI Corp.
25   purports to have been merged into ASI Computer; but that at all relevant times, and
26   continuing through the date of filing this Complaint, the defendants continued to
27   use the ASI Corp. name and entity for some purposes. Each of ASI Corp. and ASI
28   Computer maintains a place of business at its regional office located at 19850 E.

                                                        -2-
     AMERICAS 94066627 (2K)                                              SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 4 of 53 Page ID
                                #:12360


 1   Business Parkway in Walnut, California. In communications with third persons,
 2   ASI Corp. and ASI Computer frequently do not distinguish between themselves,
 3   and treat their officers, directors, employees, and agents as affiliated
 4   interchangeably with either or both entities. ASI Corp. and ASI Computer share an
 5   email domain, @asipartner.com. Unless otherwise specified, ASI Corp. and ASI
 6   Computer are collectively referred to in this Complaint as “ASI.” ASI is a
 7   wholesale distributor of computer software, hardware, and accessories. KEXIM is
 8   informed and believes and on that basis alleges that ASI was founded and
 9   personally cultivated by Christine Liang, ASI’s President, over a period of more
10   than thirty years to become one of Silicon Valley’s largest family-owned businesses
11   with revenues exceeding $1 billion in 2014.
12              9.            KEXIM is informed and believes and on that basis alleges that at all
13   relevant times defendant Bill Chen a/k/a Ta Wei Chen was an officer, to wit, Vice
14   President of Finance, of ASI Corp. and/or ASI Computer, and a citizen and resident
15   of California. As Vice President of Finance, Bill Chen was responsible for (1)
16   overseeing ASI’s accounting and credit departments, (2) overseeing ASI’s
17   budgeting, financial forecasting, and cash flow, and (3) reviewing and approving
18   ASI’s financial reporting materials.
19              10.           KEXIM is informed and believes and on that basis alleges that at all
20   relevant times defendant Henry Chen a/k/a Hung Chen is or was an officer, to wit,
21   Vice President of Business Development, of ASI Corp. and/or ASI Computer, and a
22   citizen and resident of California. As Vice President of Business Development,
23   Henry Chen was responsible for (1) overseeing product management and marketing
24   with vendors and customers, (2) overseeing new business development with
25   customers, (3) developing strategic business planning with vendors and ASI’s
26   product managers, (4) supervising ASI’s product managers’ performance and
27   revenue goal, and (5) managing ASI’s product directors and managers.
28

                                                        -3-
     AMERICAS 94066627 (2K)                                              SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 5 of 53 Page ID
                                #:12361


 1              11.           KEXIM is informed and believes and on that basis alleges that at all
 2   relevant times defendant Frances Chou a/k/a Mei Ling Chou a/k/a Frances Meiling
 3   Chou was a director and agent of ASI Corp. and/or ASI Computer, authorized to act
 4   on behalf of ASI Corp. and/or ASI Computer, including entering into contracts and
 5   transactions on their behalf, and a citizen and resident of California. As ASI’s
 6   director and agent, Frances Chou acted as a liaison between ASI and its vendors
 7   and customers and handled purchase order related matters.
 8              12.           KEXIM is informed and believes and on that basis alleges that at all
 9   relevant times defendant Christine Liang a/k/a Christine Li-Yin Liang a/k/a Li Yin
10   Chu was an officer, to wit, President, of ASI Corp. and/or ASI Computer, and a
11   citizen and resident of California. KEXIM is informed and believes and on that
12   basis alleges that at all relevant times, defendant Christine Liang controlled the
13   activities of ASI central to this Second Amended Complaint. Bill Chen, Henry
14   Chen, Frances Chou, and Christine Liang are referred to collectively as the
15   “Individual Defendants.”
16                      OTHER PERSONS RELEVANT TO THE COMPLAINT
17              13.           Moneual Inc. (“Moneual”) was a prominent Korean manufacturer of
18   computers and home appliances, including robot vacuum cleaners and various types
19   of personal computers. ASI purchased, or purported to purchase, products from
20   Moneual for import into the United States, Canada, and Latin America.
21              14.           Hong-seok (Harold) Park (“HS Park”) was the Chief Executive
22   Officer of Moneual until his arrest and conviction for masterminding the massive
23   fraud that is the subject of this lawsuit. HS Park is currently serving a 15-year
24   prison sentence in Korea for that conviction.
25              15.           PK Paradigms Holdings Ltd. (“PK Paradigms”) was a shell company
26   incorporated in Hong Kong, which was controlled by HS Park and managed by his
27   high school friend Jeff Kim. PK Paradigms was used by HS Park to facilitate
28   Moneual’s circular fraudulent transactions with ASI. HS Park also used PK

                                                        -4-
     AMERICAS 94066627 (2K)                                              SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 6 of 53 Page ID
                                #:12362


 1   Paradigms to pay kickbacks to ASI’s executives in return for their and ASI’s
 2   participation in Moneual’s fraud scheme.
 3                                        JURISDICTION AND VENUE
 4              16.           KEXIM invokes this Court’s jurisdiction under 28 U.S.C. §
 5   1332(a)(4). Plaintiff is an agency or instrumentality of the Republic of Korea, a
 6   foreign state, and defendants are citizens of Delaware and California. Complete
 7   diversity of citizenship therefore exists between the parties. The amount in
 8   controversy in this action exceeds $75,000 exclusive of interest and costs.
 9              17.           Venue is proper in this District pursuant to 28 U.S.C. § 1441(b)(1).
10   Each defendant is a resident of California and the corporate defendants maintain a
11   place of business in Walnut, California, within this District and subject to the
12   personal jurisdiction of this Court.
13                                         FACTUAL ALLEGATIONS
14   Moneual Establishes Itself as a Prosperous and Fast-Growing Company
15              18.           In or about August 2007, HS Park acquired Dign Lab Co., Ltd.
16   (“Dign”), a privately-held company that manufactured and sold robotic vacuum
17   cleaners and other home appliances. HS Park had been involved in Dign’s
18   management since approximately 2005. After acquiring Dign, HS Park assumed
19   the role of Chief Executive Officer, and on November 27, 2007, he changed the
20   name of the company to Moneual. Moneual sold TVs, PCs, netbook computers,
21   and robotic vacuum cleaners.
22              19.           Until its demise, Moneual was publicly perceived in Korea as a
23   successful company on a rapid growth trajectory. For example, Moneual
24   participated in a highly successful national sales campaign by Lotte Mart, one of
25   Korea’s leading retailers, called “Tong Keun” (“magnanimous”). Moneual entered
26   into an agreement to supply Lotte Mart with netbook computers – small, relatively
27   less powerful laptops that are used mainly for web surfing – for Lotte Mart’s “Tong
28   Keun Netbook” campaign in 2010.

                                                         -5-
     AMERICAS 94066627 (2K)                                               SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 7 of 53 Page ID
                                #:12363


 1              20.           The “Tong Keun TV” campaign in 2011 proved even more popular.
 2   Moneual’s strategy was to incorporate average to high quality LED screens inside
 3   basic frames made of plastic. This made its production costs significantly lower
 4   than those of other, better known TV brands that used modern designs and more
 5   expensive materials. People waited in line for hours outside Lotte Mart to purchase
 6   the TVs and the promotion generated widespread media attention.
 7              21.           Moneual also won the Microsoft Innovation Award at the prestigious
 8   Consumer Electronics Show in Las Vegas for three consecutive years from 2007 to
 9   2009. Such achievements, the success of the “Tong Keun” campaigns, and
10   widespread media exposure through prime time TV commercials and the news,
11   quickly earned Moneual major name recognition in Korea. As a result, third
12   persons believed that Moneual was a legitimate and successful business enterprise.
13   KEXIM Factors Moneual’s Export Receivables
14              22.           KEXIM’s Small and Medium-Sized Entrepreneur Finance Department
15   (“SME”) makes commercial loans to small and medium-sized businesses in
16   accordance with the Korean government’s policy to support such enterprises. Since
17   the 2000s, Moneual was a major customer of KEXIM’s SME.
18              23.           KEXIM’s Structured Trade Finance Department (“STF”) is
19   responsible for KEXIM’s factoring business. Factoring is a form of lending under
20   which a lender purchases a business’s trade receivables at a discount to their face
21   value, advancing money to the business and collecting the receivable from the
22   business’s customer at its maturity. Factoring is a recognized method of enhancing
23   a business’s cash flow by enabling the business to receive payment for customer
24   orders immediately or shortly after shipment of goods, before the customer would
25   be required to pay for the goods under its agreed trade terms with the seller. The
26   customer pays the factor directly when the invoice comes due. Factoring is widely
27   used by businesses for both domestic and international sales.
28

                                                       -6-
     AMERICAS 94066627 (2K)                                            SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 8 of 53 Page ID
                                #:12364


 1              24.           In June 2013, Moneual requested that KEXIM factor Moneual’s export
 2   receivables due from its customer China National Building Materials & Equipment
 3   Import & Export Corporation (“CBMIE”). CBMIE is a subsidiary of China
 4   National Building Materials Group Corporation, a Chinese state-owned enterprise
 5   which is the largest comprehensive building materials industry group in China, with
 6   100,000 employees and over $16 billion in total assets. Moneual claimed that it
 7   needed financing because all of its sales were credit transactions and, as a result, it
 8   did not have enough liquidity to sustain its rapidly increasing production demands.
 9              25.           KEXIM assessed the business opportunity. Given Moneual was a
10   long-standing client of SME, STF focused on conducting a drawdown diligence of
11   Moneual such as reevaluating previous internal credit evaluations and reviewing
12   audit reports issued on Moneual. Among other things, KEXIM also conducted a
13   credit evaluation of CBMIE by contacting major credit rating agencies such as
14   Moody’s and S&P, as well as smaller agencies such as Dun & Bradstreet (“D&B”)
15   and Korea Enterprise Data, which primarily cover small to medium-sized
16   enterprises.
17              26.           Jong-Hyun (John) Lee (“JH Lee”), KEXIM’s Director of STF’s
18   International Factoring Team, also visited Moneual’s headquarters in Seoul in or
19   about August 2013. During the visit, Moneual’s management convinced KEXIM
20   that Moneual had a number of successful products, and was busily developing new
21   and innovative products. Moneual had prototypes on display and impressive
22   brochures. Based in part on Moneual’s representations during this visit, KEXIM
23   ultimately decided to expand its business with Moneual to include a factoring
24   relationship.
25              27.           In August 2013, KEXIM and Moneual entered into an Export
26   Factoring Agreement for Moneual’s exports to CBMIE, to be renewed annually.
27   The factoring agreement was with recourse to Moneual, which meant that Moneual
28   would be financially responsible for payment on the receivables purchased by

                                                      -7-
     AMERICAS 94066627 (2K)                                           SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 9 of 53 Page ID
                                #:12365


 1   KEXIM. While non-recourse factoring was the general market practice at the time
 2   for similar transactions, the CBMIE factoring agreement deviated from this practice
 3   to mitigate KEXIM’s risk from its first factoring transaction with Moneual.
 4              28.           On or about August 19, 2013, KEXIM made its first purchase of
 5   Moneual’s export receivables due from CBMIE. KEXIM initially purchased a total
 6   amount of receivables of $20 million, payable on February 14, 2014. KEXIM
 7   received timely payment for that initial purchase from Moneual rather than from the
 8   customer CBMIE.
 9              29.           The successful consummation of this first factoring transaction gave
10   KEXIM comfort as to Moneual’s bona fides and creditworthiness, and induced
11   KEXIM to enter into additional factoring transactions with Moneual as described
12   below, including maintaining and renewing an Export Factoring Agreement for
13   Moneual’s exports to ASI. In reality, the successful initial transaction with CBMIE
14   (and later the successful initial transaction with ASI) was merely a ruse by Moneual
15   to provide KEXIM with the illusion that Moneual operated a genuine export
16   business with legitimate customers and transactions and thereby to induce KEXIM
17   to continue to finance Moneual’s receivables transactions.
18              30.           On or about October 15, 2013, Moneual entered into an “OEM Suppy
19   [sic] Agreement” (the “Supply Agreement”) with ASI Corp. Under the Supply
20   Agreement, ASI Corp. was to be the exclusive importer and distributor of Moneual
21   products within the United States, Canada, and Latin America. Payment for orders
22   was due on a net 180 days basis. The Supply Agreement is governed by California
23   law.
24              31.           In the Supply Agreement, ASI Corp. guaranteed to purchase $200
25   million of Moneual products within the first year and $400 million within the
26   second – in hindsight, a phenomenally large commitment, representing nearly 30%
27   of ASI Corp.’s total revenue, which KEXIM is informed and believes and on that
28   basis alleges would have been impossible, or, at a minimum, onerous, for ASI

                                                        -8-
     AMERICAS 94066627 (2K)                                              SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 10 of 53 Page ID
                                 #:12366


  1   Corp. to meet. That was especially true given Moneual’s minimal market exposure
  2   and limited brand recognition in the North and Central American territories where
  3   ASI Corp. was to distribute its products, such that ASI Corp. would have been
  4   confronted with great difficulty reselling the Moneual products.
  5              32.           The Supply Agreement was executed on behalf of Moneual by HS
  6   Park and on behalf of ASI Corp. by defendant Frances Chou as Director of ASI
  7   Corp. The Supply Agreement stated that the parties executing the agreement had
  8   the requisite authority to do so.
  9              33.           The terms of the Supply Agreement were similar to the Distribution
10    Agreement entered into by and between Moneual and ASI Computer on January 1,
11    2007 (the “Distribution Agreement”), which was executed on behalf of Moneual
12    by HS Park as CEO of Moneual and on behalf of ASI Computer by defendant
13    Christine Liang as President of ASI. The Distribution Agreement is governed by
14    California law.
15               34.           KEXIM is informed and believes and on that basis alleges that ASI
16    and its executives, including Christine Liang, began assisting Moneual in
17    implementing its fictitious and/or fraudulent export-import transactions under the
18    guise of the Distribution Agreement since 2007. One primary difference between
19    the Supply Agreement and the Distribution Agreement was that the latter did not
20    contain the purchase guarantee described in paragraph 30 above. KEXIM is
21    informed and believes and on that basis alleges that Moneual and ASI Corp. entered
22    into the Supply Agreement to add lucrative purchase requirement provisions, which
23    would heighten the appeal of factoring Moneual’s receivables from ASI and
24    thereby induce KEXIM to factor the receivables.
25               35.           After entering into the Supply Agreement, Moneual requested KEXIM
26    to factor its export receivables due from ASI Computer. KEXIM carried out an
27    evaluation of ASI’s creditworthiness as part of its due diligence process. In
28    connection with that evaluation, KEXIM contacted credit rating agencies, including

                                                         -9-
      AMERICAS 94066627 (2K)                                             SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 11 of 53 Page ID
                                 #:12367


  1   D&B, to receive a ratings report on ASI. However, ASI’s credit rating failed to
  2   meet KEXIM’s internal ratings requirements. KEXIM communicated this fact to
  3   Moneual. Shortly thereafter, in May 2014, Moneual’s agent Kyeong-Shik Kang
  4   (“KS Kang”) informed KEXIM that ASI’s ratings had improved. KS Kang
  5   explained that ASI had provided its updated D&B credit rating to Moneual per HS
  6   Park’s request. KEXIM requested another ratings report on ASI from D&B and
  7   confirmed that ASI’s ratings had indeed improved and met KEXIM’s internal
  8   ratings requirements.
  9              36.           KEXIM is informed and believes and on that basis alleges that ASI’s
10    ratings were based in part on ASI’s income statement, which reflected ASI’s
11    voluminous purchase and sale of products manufactured by Moneual to paper
12    companies as part of Moneual’s circular export-import transactions with ASI in a
13    scheme to defraud banks, including KEXIM. As early as June 2012, ASI knew that
14    its credit ratings would be considered by banks in their decision to extend loans and
15    other credit arrangements such as factoring to Moneual. ASI submitted its financial
16    information to credit ratings agencies such as D&B requesting that they update
17    ASI’s credit file, and communicated these efforts to Moneual. For example, on or
18    about June 26, 2012, defendant Bill Chen forwarded HS Park an email he had
19    received from D&B informing ASI that its credit file had been updated to reflect
20    ASI’s income statement data. ASI would have no reason to alert Moneual that its
21    credit file with ratings agencies had been updated unless ASI anticipated and knew
22    that Moneual would use this information to secure loans and other financings from
23    financial institutions such as KEXIM. KEXIM is informed and believes and on that
24    basis alleges that ASI and at the least, defendant Bill Chen, knew that KEXIM
25    would rely on ASI’s D&B ratings report, which was partly based on fraudulent
26    transactions between ASI and Moneual and other Moneual-controlled paper
27    companies, when entering into a factoring agreement for Moneual’s receivables
28    from ASI.

                                                        - 10 -
      AMERICAS 94066627 (2K)                                             SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 12 of 53 Page ID
                                 #:12368


  1              37.           KS Kang also sent KEXIM a certification of ASI Computer’s business
  2   history prepared by the Korea Trade Insurance Corporation (“KSURE”), Korea’s
  3   official export credit agency. KSURE is a corporation under the Korean Ministry
  4   of Trade, Industry and Energy, whose functions include the operation of trade
  5   insurance programs relating to the export and import of goods, and the provision of
  6   credit-related services including credit research and credit information management
  7   for Korean enterprises.
  8              38.           The KSURE certification that Moneual delivered to KEXIM in support
  9   of ASI’s creditworthiness, dated November 20, 2013, purported to contain
10    Moneual’s export performance data for each of its customers, including ASI
11    Computer, for the years 2006-2013. This document showed substantial export
12    figures and full collection of those amounts, and was therefore material in
13    persuading KEXIM to approve the factoring of Moneual’s export receivables due
14    from ASI Computer. The document also showed a dramatic rise in Moneual’s
15    exports to ASI Computer between 2006 and 2012, from less than $1 million in
16    2006, to approximately $81 million in 2009, and over $180 million in 2012, which
17    amounts were purportedly insured by KSURE and subsequently collected in full.
18               39.           Those figures later proved to be false. KEXIM is informed and
19    believes and on that basis alleges that, in fact, those figures were highly inflated,
20    and reflected fictitious and/or fraudulent transactions between Moneual and ASI
21    Computer. Moneual supplied those figures to KEXIM with the intent to deceive
22    KEXIM into entering into a factoring agreement for Moneual’s receivables from
23    ASI Computer and making available to Moneual a credit facility in the tens of
24    millions of dollars.
25               40.           When KEXIM requested additional documents from Moneual to
26    support ASI’s creditworthiness, Moneual requested that KEXIM communicate
27    directly with ASI’s Vice President of Finance, defendant Bill Chen, and gave
28    KEXIM his email address. On November 18, 2013, KEXIM sent an email to Bill

                                                        - 11 -
      AMERICAS 94066627 (2K)                                             SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 13 of 53 Page ID
                                 #:12369


  1   Chen and requested ASI Computer’s financial statements. On November 19, 2013,
  2   Bill Chen replied from his ASI email account and attached ASI’s 2010-2012
  3   balance sheets and income statements to his email, although they were missing the
  4   auditor’s signature. On November 22, 2013, following KEXIM’s request for the
  5   statements with the auditor’s signature in place, Bill Chen sent the auditor’s cover
  6   letter and opinion.
  7              41.           KEXIM is informed and believes and on that basis alleges that the
  8   financial statements sent by Bill Chen incorporated voluminous fictitious and/or
  9   fraudulent transactions between ASI and Moneual, thereby significantly inflating
10    ASI’s income statement figures. ASI knew that its financial statements were
11    inaccurate and gave the false appearance that its distribution business was larger
12    than reality. The Individual Defendants did not disclose this fact to KEXIM.
13    KEXIM reasonably relied on the financial statements as accurate and based on
14    genuine business transactions of ASI. KEXIM is informed and believes and on that
15    basis alleges that defendants Bill Chen, in his capacity of ASI’s Vice President of
16    Finance, and Christine Liang, as President of ASI, reviewed and approved the false
17    financial statements.
18               42.           In or about December 2013, in reliance on the information provided by
19    Moneual, ASI, and credit agencies, KEXIM entered into an Export Factoring
20    Agreement with Moneual to factor Moneual’s exports to ASI Computer, without
21    recourse against Moneual. The successful consummation of the first CBMIE
22    factoring transaction gave KEXIM comfort as to the legitimacy of Moneual’s
23    export transactions, and induced KEXIM to enter into a non-recourse agreement
24    with Moneual consistent with market practice. KEXIM and Moneual subsequently
25    entered into new Export Factoring Agreements on or about June 25, 2014, and on
26    or about September 19, 2014, each on substantially the same terms, and the three
27    Export Factoring Agreements are collectively referred to as the “EFA.” Under the
28    EFA, Moneual agreed to sell and KEXIM agreed to purchase Moneual’s rights and

                                                        - 12 -
      AMERICAS 94066627 (2K)                                              SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 14 of 53 Page ID
                                 #:12370


  1   benefits to receive payments from ASI Computer for the commercial invoices
  2   Moneual sent to ASI Computer for its shipments of goods.
  3              43.           Moneual’s initial credit limit under the EFA was $12 million. The
  4   June 2014 agreement increased Moneual’s credit limit to $29 million and the
  5   September 2014 agreement increased Moneual’s credit limit to $40 million.
  6   KEXIM granted each increase in Moneual’s credit limit at Moneual’s request,
  7   based on Moneual’s representations to KEXIM that Moneual had outstanding
  8   invoices to ASI Computer in those amounts which it asked KEXIM to factor.
  9              44.           After KEXIM and Moneual entered into the EFA in December 2013,
10    Moneual sent ASI Computer a notification informing ASI Computer that it should
11    make payments on Moneual’s invoices directly to KEXIM. The notification was
12    signed by Moneual’s CEO, HS Park, and acknowledged by defendant Frances
13    Chou, as “Director.” Moneual sent an essentially identical notification to ASI
14    Computer in 2014, signed and acknowledged by the same persons.
15               45.           At some point after Moneual and ASI Corp. entered into their
16    Distribution Agreement in January 2007, KEXIM is informed and believes and on
17    that basis alleges that in furtherance of the fraud ASI Computer began placing
18    bogus purchase orders with Moneual for the purported purchase of home theater
19    personal computers (“HTPCs”) and other goods manufactured by Moneual or its
20    subsidiaries or affiliates. The Supply Agreement was simply another ruse to induce
21    KEXIM to enter into the EFAs with Moneual. In all, KEXIM is informed and
22    believes and on that basis alleges that ASI placed 36 such purchase orders in four
23    sets, as more fully described below.
24               46.           The First Set of Purchase Orders. On or about November 21, 2013,
25    ASI Computer issued eight purported purchase orders, numbered 897680-000 OP,
26    897681-000 OP, 897682-000 OP, 897683-000 OP, 897684-000 OP, 897685-000
27    OP, 897686-000 OP and 897687-000 OP. Each purported purchase order was for
28    500 units of HTPCs at the price of $2,980 per unit, totaling $1,490,000. In total,

                                                        - 13 -
      AMERICAS 94066627 (2K)                                             SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 15 of 53 Page ID
                                 #:12371


  1   the eight purported purchase orders in this set (the “First Set of Purchase
  2   Orders”) amounted to an aggregate order of $11,920,000. According to the
  3   purchase orders, payment was due 180 days from the bill of lading date.
  4              47.           On or about December 18, 2013, Moneual purportedly shipped the
  5   goods called for in the First Set of Purchase Orders to the location specified by the
  6   purchaser in Hong Kong. Moneual sent invoices to ASI Computer for an aggregate
  7   amount of $11,920,000. The invoices that Moneual issued to ASI for the First Set
  8   of Purchase Orders listed Moneual as the seller, ASI Computer located in Fremont,
  9   California, as the consignee, and ASI Computer Technologies Inc. located in Hong
10    Kong as the notify party. KEXIM is informed and believes and on that basis
11    alleges that ASI Computer Technologies Inc. located in Hong Kong refers to ASI
12    Computer Technologies (HK) Limited (“ASI (HK)”), an affiliate of ASI
13    incorporated in 2012, for the purpose of implementing Moneual’s fraudulent
14    export-import transactions. HS Park, identified in the invoices as CEO of Moneual,
15    signed the invoices.
16               48.           Moneual submitted to KEXIM the purchase orders and the attendant
17    packing lists, commercial invoices, and inland bills of lading as part of its
18    application to sell the export receivables due from ASI under the First Set of
19    Purchase Orders. The application to sell the receivables was reviewed and
20    approved by KEXIM’s STF. The supporting documents on their face did not give
21    any indication of the underlying fraudulent scheme. Since at least 2010, however,
22    ASI knew that banks were relying on the genuineness of its purchase orders to
23    factor Moneual’s receivables and, since at least December 2013, when ASI received
24    notification from Moneual that KEXIM would be factoring ASI receivables, ASI
25    knew that KEXIM was relying on the genuineness of its purchase orders when it
26    agreed to factor Moneual’s receivables due from ASI. Nevertheless, ASI did not
27    inform KEXIM that the First Set of Purchase Orders was bogus and that the
28    Individual Defendants had received significant kickbacks for ASI’s participation in

                                                       - 14 -
      AMERICAS 94066627 (2K)                                            SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 16 of 53 Page ID
                                 #:12372


  1   Moneual’s fraudulent circular transactions. On or about January 7, 2014, pursuant
  2   to the EFA, KEXIM purchased Moneual’s purported account receivable from ASI
  3   Computer for the invoices pertaining to the First Set of Purchase Orders.
  4              49.           Payment for the goods represented by the First Set of Purchase Orders
  5   was due on June 16, 2014, and on or about that date KEXIM received the sum of
  6   $11,919,960 by wire transfer from an account in the name of ASI (HK).
  7              50.           The Second Set of Purchase Orders. On or about April 21, 2014, ASI
  8   Computer issued eight purported purchase orders, numbered 926948-000 OP,
  9   926949-000 OP, 926950-000 OP, 926951-000 OP, 926952-000 OP, 926953-000
10    OP, 926954-000 OP and 926955-000 OP. Each purported purchase order was for
11    500 units of HTPCs at the price of $2,980 per unit, totaling $1,490,000. In total,
12    the eight purported purchase orders in this set (the “Second Set of Purchase
13    Orders”) amounted to an aggregate order of $11,920,000. According to the
14    purchase orders, payment was due 180 days from the bill of lading date.
15               51.           On or about June 12, 2014, Moneual purportedly shipped the goods
16    called for in the Second Set of Purchase Orders to the location specified by the
17    purchaser in Hong Kong. Moneual sent an invoice to ASI Computer for
18    $11,920,000. The invoices that Moneual issued to ASI for the Second Set of
19    Purchase Orders listed Moneual as the seller, ASI Computer in Fremont, California,
20    as the consignee, and ASI Computer Technologies Inc. located in Hong Kong as
21    the notify party. KEXIM is informed and believes and on that basis alleges that
22    ASI Computer Technologies Inc. located in Hong Kong refers to ASI (HK). HS
23    Park, identified in the invoices as CEO of Moneual, signed the invoices.
24               52.           Moneual submitted to KEXIM the purchase orders and the attendant
25    packing lists, commercial invoices, and domestic shipment waybills as part of its
26    application to sell the export receivables due from ASI under the Second Set of
27    Purchase Orders. The application to sell the receivables was reviewed and
28    approved by KEXIM’s STF. The supporting documents on their face did not give

                                                        - 15 -
      AMERICAS 94066627 (2K)                                              SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 17 of 53 Page ID
                                 #:12373


  1   any indication of the underlying fraudulent scheme. At this time, however, ASI
  2   undoubtedly knew that KEXIM was relying on the genuineness of its purchase
  3   orders to factor Moneual’s receivables given in December 2013 as well as
  4   sometime in 2014, ASI received notifications from Moneual that KEXIM was
  5   factoring ASI receivables, and on June 16, 2014, ASI paid KEXIM for the First Set
  6   of Purchase Orders. Nevertheless, ASI did not inform KEXIM that the Second Set
  7   of Purchase Orders was bogus and that the Individual Defendants had received
  8   significant kickbacks for ASI’s participation in Moneual’s fraudulent circular
  9   transactions. On or about June 19, 2014 (approximately three days after receiving
10    payment for the money it advanced on the First Set of Purchase Orders), pursuant
11    to the EFA, KEXIM purchased Moneual’s purported account receivable from ASI
12    Computer for the invoices pertaining to the Second Set of Purchase Orders.
13               53.           Payment for the goods represented by the Second Set of Purchase
14    Orders was due on December 9, 2014. ASI Computer defaulted on that payment
15    and KEXIM has never received payment for the money it advanced on the Second
16    Set of Purchase Orders.
17               54.           The Third Set of Purchase Orders. On or about May 8, 2014, ASI
18    Computer issued ten purported purchase orders, numbered 931068-000 OP,
19    931069-000 OP, 931070-000 OP, 931071-000 OP, 931072-000 OP, 931073-000
20    OP, 931074-000 OP, 931075-000 OP, 931076-000 OP and 931077-000 OP. Nine
21    of the ten purported purchase orders were for 500 units of HTPCs at the price of
22    $2,980 per unit, totaling $1,490,000; the tenth was for 200 units of HTPCs at
23    $2,980 each, totaling $596,000. ASI Computer had also issued two additional
24    purported purchase orders on April 21, 2014 (in addition to the eight issued on that
25    day which formed the Second Set of Purchase Orders), numbered 926956-000 OP
26    and 926957-000 OP, each for 500 units of HTPCs at the price of $2,980 per unit,
27    totaling $1,490,000. The goods under those two purported purchase orders were
28    shipped and invoiced together with those under the ten purported purchase orders

                                                        - 16 -
      AMERICAS 94066627 (2K)                                             SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 18 of 53 Page ID
                                 #:12374


  1   issued on May 8, 2014. In total, the twelve purported purchase orders in this set
  2   (the “Third Set of Purchase Orders”) amounted to an aggregate order of
  3   $16,986,000. According to the purchase orders, payment was due 180 days from
  4   the bill of lading date.
  5              55.           On or about June 17, 2014, Moneual purportedly shipped the goods
  6   called for in the Third Set of Purchase Orders to the location specified by the
  7   purchaser in Hong Kong. Moneual sent an invoice to ASI Computer for
  8   $16,986,000. The invoices that Moneual issued to ASI for the Third Set of
  9   Purchase Orders listed Moneual as the seller, ASI Computer Technologies Inc.
10    located in Hong Kong as the consignee and notify party, and ASI Computer in
11    Fremont, California as the buyer. KEXIM is informed and believes and on that
12    basis alleges that ASI Computer Technologies Inc. located in Hong Kong refers to
13    ASI (HK). HS Park, identified in the invoices as CEO of Moneual, signed the
14    invoices.
15               56.           Moneual submitted to KEXIM the purchase orders and the attendant
16    packing lists, commercial invoices, and domestic shipment waybills as part of its
17    application to sell the export receivables due from ASI under the Third Set of
18    Purchase Orders. The application to sell the receivables was reviewed and
19    approved by KEXIM’s STF. The supporting documents on their face did not give
20    any indication of the underlying fraudulent scheme. At this time, however, ASI
21    undoubtedly knew that KEXIM was relying on the genuineness of its purchase
22    orders to factor Moneual’s receivables given in December 2013 as well as
23    sometime in 2014, ASI received notifications from Moneual that KEXIM was
24    factoring ASI receivables, and on June 16, 2014, ASI paid KEXIM for the First Set
25    of Purchase Orders. Nevertheless, ASI did not inform KEXIM that the Third Set of
26    Purchase Orders was bogus and that the Individual Defendants had received
27    significant kickbacks for ASI’s participation in Moneual’s fraudulent circular
28    transactions. On or about June 26, 2014 (a week after purchasing the purported

                                                       - 17 -
      AMERICAS 94066627 (2K)                                            SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 19 of 53 Page ID
                                 #:12375


  1   account receivable from ASI Computer for the invoices pertaining to the Second
  2   Set of Purchase Orders, and after acceding to Moneual’s request to increase
  3   Moneual’s credit limit to accommodate this new purchase), pursuant to the EFA,
  4   KEXIM purchased Moneual’s purported account receivable from ASI Computer for
  5   the invoices pertaining to the Third Set of Purchase Orders.
  6              57.           Payment for the goods represented by the Third Set of Purchase Orders
  7   was due on or about December 14, 2014. ASI Computer defaulted on that payment
  8   and KEXIM has never received payment for the money it advanced on the Third
  9   Set of Purchase Orders.
10               58.           The Fourth Set of Purchase Orders. On or about August 20, 2014, ASI
11    Computer issued eight purported purchase orders, numbered 953143-000 OP,
12    953144-000 OP, 953145-000 OP, 953146-000 OP, 956894-000 OP, 956895-000
13    OP, 956896-000 OP and 956897-000 OP. Seven of the eight purported purchase
14    orders were for 500 units of HTPCs at the price of $2,980 per unit, totaling
15    $1,490,000; the eighth was for 220 units of HTPCs at $2,980 per unit, totaling
16    $655,600. In total, the eight purported purchase orders in this set (the “Fourth Set
17    of Purchase Orders”) amounted to an aggregate order of $11,085,600. According
18    to the purchase orders, payment was due 180 days from the bill of lading date.
19               59.           On or about August 22, 2014, Moneual purportedly shipped the goods
20    called for in the Fourth Set of Purchase Orders to the location specified by the
21    purchaser in Hong Kong. Moneual sent an invoice to ASI Computer for
22    $11,085,600. The invoices that Moneual issued to ASI for the Fourth Set of
23    Purchase Orders listed Moneual as the seller, ASI (HK) as the consignee and notify
24    party, and ASI Computer in Fremont, California as the buyer. HS Park, identified
25    in the invoices as CEO of Moneual, signed the invoices.
26               60.           Moneual submitted to KEXIM the purchase orders and the attendant
27    packing lists, commercial invoices, and domestic shipment waybills as part of its
28    application to sell the export receivables due from ASI under the Fourth Set of

                                                        - 18 -
      AMERICAS 94066627 (2K)                                             SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 20 of 53 Page ID
                                 #:12376


  1   Purchase Orders. The application to sell the receivables was reviewed and
  2   approved by KEXIM’s STF. The supporting documents on their face did not give
  3   any indication of the underlying fraudulent scheme. At this time, however, ASI
  4   undoubtedly knew that KEXIM was relying on the genuineness of its purchase
  5   orders to factor Moneual’s receivables given in December 2013 as well as
  6   sometime in 2014, ASI received notifications from Moneual that KEXIM was
  7   factoring ASI receivables, and on June 16, 2014, ASI paid KEXIM for the First Set
  8   of Purchase Orders. Nevertheless, ASI did not inform KEXIM that the Fourth Set
  9   of Purchase Orders was bogus and that the Individual Defendants had received
10    significant kickbacks for ASI’s participation in Moneual’s fraudulent circular
11    transactions. On or about September 24, 2014, pursuant to the EFA, KEXIM
12    purchased Moneual’s purported account receivable from ASI Computer for the
13    invoices pertaining to the Fourth Set of Purchase Orders.
14               61.           Payment for the goods represented by the Fourth Set of Purchase
15    Orders was due on February 18, 2015. ASI Computer defaulted on that payment
16    and KEXIM has never received payment for the money it advanced on the Fourth
17    Set of Purchase Orders.
18               62.           Each purported purchase order in the First through Fourth Sets of
19    Purchase Orders was signed by defendant Frances Chou as Director of ASI
20    Computer. ASI has never contested that it issued any of the 36 purchase orders.
21               63.           The Hong Kong address given for the consignees in the Third and
22    Fourth Sets of Purchase Orders was bogus. A company unrelated to ASI was
23    located at that address. At the time that it advanced funds to Moneual on the Third
24    and Fourth Sets of Purchase Orders, KEXIM did not know that neither ASI
25    Computer, nor ASI Corp., nor any affiliate of either defendant maintained a
26    business at that Hong Kong address.
27               64.           The price of the HTPCs that ASI Computer purportedly bought from
28    Moneual was vastly inflated. Moneual purported to charge ASI $2,980 per unit,

                                                         - 19 -
      AMERICAS 94066627 (2K)                                              SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 21 of 53 Page ID
                                 #:12377


  1   and that amount was stated in the invoices on which KEXIM advanced the funds to
  2   Moneual. However, KEXIM is informed and believes and on that basis alleges that
  3   in fact the HTPCs were junk: old, defective items of obsolescent technology worth,
  4   according to the Korean authorities, less than $8 per unit – a fraction of a percent of
  5   the amount that Moneual billed to ASI Computer and that KEXIM advanced to
  6   Moneual.
  7   ASI Fails to Pay Its Invoices Relating to the Second, Third, and Fourth Sets of
  8   Purchase Orders
  9              65.           By July 2014, KEXIM had been repaid for its advance against the First
10    Set of Purchase Orders, but the Second and Third Sets of Purchase Orders remained
11    open. KEXIM had approximately $29 million in outstanding advances to Moneual
12    against its invoices to ASI Computer for those orders. KEXIM then inquired of
13    ASI Computer via KEXIM’s contact at Moneual whether ASI Computer was in fact
14    in a business relationship with Moneual and whether ASI Computer had issued
15    purchase orders for Moneual products.
16               66.           On or about July 13, 2014, defendant Bill Chen, ASI Computer’s Vice
17    President of Finance, responded to KEXIM’s inquiry. Bill Chen sent a letter to
18    KEXIM from his ASI email address affirming that Moneual was “one of [ASI
19    Computer’s] most significant supplier[s]” and confirming that ASI Computer had a
20    number of pending purchase orders with Moneual. In that same letter, ASI
21    Computer expressly affirmed the authority of Frances Chou to enter into the
22    transactions with Moneual. Bill Chen, an officer of ASI Computer, wrote: “In
23    regards to the business with Moneual Inc., if signed and confirmed by Frances
24    Chou(mail : franceschou@asipartner.com.hk) who is our director, all necessary
25    documentation and other follow-up actions are totally valid.”
26               67.           Bill Chen’s July 13, 2014 letter was intended to, and did, perpetuate
27    the false implication, and deceive KEXIM into believing, that ASI and Moneual
28    were engaged in a legitimate business relationship. In reliance on Bill Chen’s

                                                         - 20 -
      AMERICAS 94066627 (2K)                                               SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 22 of 53 Page ID
                                 #:12378


  1   representations in his July 13, 2014 letter, KEXIM purchased Moneual’s purported
  2   account receivable from ASI Computer for the invoices pertaining to the Fourth Set
  3   of Purchase Orders.
  4              68.           In or about October 2014, Moneual filed for receivership in Korea,
  5   owing in excess of $500 million to its lenders, including KEXIM. Thereafter, on or
  6   about October 23, 2014, KEXIM wrote to ASI to remind ASI Computer of its
  7   obligation to pay for the receivables that KEXIM had purchased from Moneual.
  8   KEXIM’s letter listed 28 open invoices, due on various dates from December 9,
  9   2014 through February 18, 2015, corresponding to the 28 purported purchase orders
10    in the Second through Fourth Sets of Purchase Orders. ASI Computer’s total
11    outstanding obligation was $39,991,600. ASI did not respond to KEXIM’s letter.
12               69.           Because of ASI’s failure to respond to KEXIM’s October 23, 2014
13    letter, JH Lee, a KEXIM employee, travelled from Korea to California. On or
14    about October 27, 2014, he visited ASI’s offices in Fremont, California to evaluate
15    the export transactions between Moneual and ASI Computer and to reconfirm the
16    validity of the purported purchase orders. On that date, JH Lee attempted to reach
17    both defendants Bill Chen and Frances Chou, but was unable to meet or even locate
18    them.
19               70.           JH Lee then met with defendant Henry Chen, ASI’s Vice President of
20    Business Development, in ASI’s offices in Fremont. In that meeting, on or about
21    October 27, 2014, Henry Chen confirmed that Bill Chen was a Director of ASI and
22    that Frances Chou was ASI’s “procurement officer” in Asia. In a later telephone
23    conversation with JH Lee on the same day, Henry Chen confirmed that the
24    purported purchase orders signed by Frances Chou had been issued by ASI
25    Computer and were “open,” meaning not yet filled. Henry Chen again confirmed,
26    in an email sent to JH Lee on October 29, 2014, that the purported purchase orders
27    were authentic and open.
28

                                                        - 21 -
      AMERICAS 94066627 (2K)                                              SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 23 of 53 Page ID
                                 #:12379


  1              71.           KEXIM made two further requests to ASI for payment on the
  2   receivables, on or about November 25, 2014 and December 12, 2014, again listing
  3   the 28 open invoices totaling $39,991,600. On or about December 15, 2014, JH
  4   Lee had a telephone conversation with defendant Henry Chen regarding the status
  5   of ASI Computer’s orders and payment. In that conversation, Henry Chen again
  6   confirmed that defendant Frances Chou was ASI Computer’s authorized agent with
  7   respect to the Moneual transactions, this time characterizing her as ASI Computer’s
  8   “special contractor.”
  9              72.           On or about December 16, 2014, defendant Henry Chen followed up
10    on the telephone conversation and wrote to JH Lee, stating that ASI Computer had
11    not received the goods specified in the purported purchase orders. Henry Chen did
12    not deny the validity of the purported purchase orders.
13               73.           Defendant Henry Chen’s December 16, 2014 correspondence to
14    KEXIM claimed (as ASI Computer’s justification for refusing to pay the pending
15    invoices) that ASI Computer had never received a shipment of goods under the
16    Second, Third, or Fourth Set of Purchase Orders and that there was not even a
17    delivery schedule set for those purported purchase orders. However, ASI Computer
18    had issued the Fourth Set of Purchase Orders, for over $11 million, in August 2014,
19    after paying in full for the First Set of Purchase Orders and at a time when the
20    Second and Third Sets of Purchase Orders had been outstanding for nearly four
21    months. No business in ASI Computer’s position would have issued new purchase
22    orders for over $11 million to a supplier that was months behind in the delivery of
23    previous orders unless it intended to deceive KEXIM into providing financing to
24    Moneual for transactions that did not exist.
25               74.           Either Henry Chen falsely stated to KEXIM that ASI Computer had
26    not received the goods from the Second, Third, and Fourth Set of Purchase Orders,
27    in which case ASI Computer’s failure to pay for the invoices pertaining to those
28    orders evidences its participation in the scheme to defraud KEXIM; or the

                                                       - 22 -
      AMERICAS 94066627 (2K)                                           SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 24 of 53 Page ID
                                 #:12380


  1   statement was true, in which case ASI Computer’s issuance of the Fourth Set of
  2   Purchase Orders evidences its participation in the scheme to defraud KEXIM.
  3              75.           ASI Computer has never paid any of the invoices pertaining to the
  4   Second, Third, or Fourth Sets of Purchase Orders. KEXIM has not received
  5   payment for the purported receivables that it factored for Moneual pertaining to
  6   those invoices, in the total principal sum in default of $39,991,600.
  7   ASI and the Individual Defendants’ Participation in Moneual’s Fraud
  8              76.           In late 2014, the Korean Customs Service conducted an investigation
  9   of Moneual’s activities and prepared an internal investigation report. On or about
10    January 23, 2015, the Seoul district prosecutor’s office indicted HS Park and other
11    Moneual employees. The indictment charged that those individuals had caused
12    Moneual to execute large-scale fraud schemes using circular transactions. The
13    indictment further charged that the price of Moneual’s HTPCs was greatly
14    exaggerated, at $2,980 per unit when in fact they were only worth, according to the
15    Korean authorities, approximately $8 per unit. The indictment also detailed how
16    Moneual’s foreign importers such as ASI provided Moneual with purchase order
17    numbers to enable Moneual executives to generate false and fraudulent purchase
18    orders, which Moneual then used to obtain financing from at least ten banks,
19    including KEXIM.
20               77.           In reliance on the purchase orders from Moneual’s foreign importers,
21    KEXIM believed it was purchasing valid export receivables, when in fact, it was
22    providing Moneual with loans and advances based on bogus purchase orders that
23    ASI helped Moneual create.
24               78.           KEXIM is informed and believes and on that basis alleges that ASI
25    and the Individual Defendants knew about Moneual’s scheme to defraud its lenders
26    and agreed to assist Moneual in perpetrating that scheme. Making these circular
27    payments enabled the participants to deceive the banks, including KEXIM, and to
28    prolong the fraudulent scheme.

                                                        - 23 -
      AMERICAS 94066627 (2K)                                              SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 25 of 53 Page ID
                                 #:12381


  1              79.           While ASI’s export-import relationship with ASI may have started as
  2   early as 2006, on January 1, 2007, ASI formally contracted to distribute Moneual’s
  3   products under the Distribution Agreement. Defendant Christine Liang, in her
  4   capacity as President of ASI, executed the Distribution Agreement. Accordingly,
  5   starting 2007, defendant Christine Liang expressly agreed to and had knowledge of
  6   ASI’s transactions with Moneual. Notably, defendant Christine Liang did not
  7   review or conduct any due diligence on Moneual’s financial condition or the value
  8   of HTPCs prior to or at any point after the execution of the Distribution Agreement.
  9              80.           Likewise, defendant Henry Chen, whose responsibilities as Vice
10    President of Business Development included, among other things, overseeing new
11    business development with customers and vendors and product management, did
12    not review or conduct any due diligence on Moneual’s financial condition or the
13    value of the HTPCs prior to or at any point after the execution of the Distribution
14    Agreement.
15               81.           Notwithstanding a complete lack of financial or product due diligence
16    by defendants Christine Liang and Henry Chen, over the next seven years, ASI
17    proceeded to purchase and sell products manufactured by Moneual at vastly inflated
18    prices and process payments to bank accounts instructed by Moneual. ASI did not
19    inspect or examine the products it purchased from Moneual before they were sold
20    to its purported customers. All of ASI’s purported customers were arranged by
21    Moneual, and ASI did not perform any independent due diligence on their financial
22    condition or creditworthiness prior to opening ASI customer accounts for them.
23    KEXIM is informed and believes and on that basis alleges that none of the
24    foregoing would have occurred unless ASI was an active participant in Moneual’s
25    fraudulent scheme.
26               82.           From 2010 to 2014, ASI’s transactions with Moneual exceeded $1.2
27    billion in the aggregate. If ASI’s dealings with intermediary distributors who
28

                                                        - 24 -
      AMERICAS 94066627 (2K)                                              SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 26 of 53 Page ID
                                 #:12382


  1   purchased products from Moneual and sold them to ASI are included, the value of
  2   ASI’s fraudulent transactions would significantly increase.
  3              83.           Defendant Frances Chou, on behalf of ASI, prepared and emailed
  4   fraudulent purchase orders to Moneual or emailed ASI purchase order numbers
  5   accessed from ASI’s purchase order system (including the ASI purchase order
  6   numbers for the First, Second, Third, and Fourth Sets of Purchase Orders) to
  7   Moneual’s Vice President, Chul-wook Shin, so that he could create fraudulent
  8   purchase orders. Defendant Henry Chen supervised the work performed by Frances
  9   Chou on behalf of ASI. Defendant Henry Chen, who was authorized to release
10    purchase order numbers from ASI’s purchase order system, approved the release of
11    such order numbers (including the ASI purchase order numbers for the First,
12    Second, Third, and Fourth Sets of Purchase Orders) to Moneual.
13               84.           Moneual then submitted the fraudulent purchase orders, along with
14    fraudulent invoices and shipping documents, to financial institutions, including
15    KEXIM, to sell them export receivables based on these documents. Si-young Park
16    and/or Chang-il Choi, two Moneual employees, would tell Chul-wook Shin how
17    many purchase orders Moneual needed in light of previously-sold export
18    receivables that were approaching maturity.
19               85.           When ASI first became involved in the fraud scheme, Moneual
20    shipped the HTPCs to ASI Computer or ASI (HK) starting in 2012, which then sold
21    the HTPCs to Polaris Media Research Inc. and Polaris Media Research Holding
22    Limited (together, “Polaris”), paper companies that HS Park established in the US
23    and Hong Kong, respectively. Polaris then sold the HTPCs to PK Paradigms,
24    another paper company set up by HS Park. When the payment dates for the export
25    receivables approached, HS Park transferred money to PK Paradigms disguised as
26    payment for manufacturing supplies and parts for new products that Moneual was
27    importing into Korea, when Moneual was actually bringing back the very HTPCs it
28    had exported. In fact, the HTPCs may not even have physically moved; the transfer

                                                        - 25 -
      AMERICAS 94066627 (2K)                                             SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 27 of 53 Page ID
                                 #:12383


  1   of their ownership may only have taken place on paper. Making these circular
  2   payments enabled the participants to continue to deceive the banks, including
  3   KEXIM, and to prolong the fraudulent scheme.
  4              86.           The money from the advances Moneual received from financial
  5   institutions, including KEXIM, was then transferred in reverse to the supposed flow
  6   of the HTPCs (i.e., Moneual  PK Paradigms  Polaris  ASI Computer / ASI
  7   (HK)), to allow ASI Computer or ASI(HK), as the case may be, to make payments
  8   to financial institutions for the export receivables. ASI’s purchase orders provided
  9   for payment by ASI within 180 days of shipment. After shipping or purportedly
10    shipping the goods, Moneual would sell the export receivables to financial
11    institutions, including KEXIM, in exchange for an advance of funds. When a set of
12    export receivables would become due, Moneual would transfer funds from previous
13    bank advances to PK Paradigms, purportedly for the supplies and parts it was
14    purchasing from PK Paradigms. PK Paradigms would then transfer the funds to
15    Polaris, purportedly for the purchase of HTPCs. Polaris, as ASI’s purported
16    customer, would then transfer funds to ASI Computer or ASI (HK), as the case may
17    be, who would use the funds to pay the financial institution for the export
18    receivables they had purchased as instructed by Moneual employees and agents
19    such as Jennifer Ahn, HS Park’s relative.
20               87.           Later, the circular transactions were diversified by enlisting additional
21    exporters and paper companies to ward off suspicion of the fraud scheme. Moneual
22    would sell the HTPCs to ASI Computer or ASI (HK), and at times also to CBMIE,
23    China North Wanxing International Corp. (“Wanxing”) and KT Networks Corp.
24    (“KTN”), who would in turn sell the same products to ASI Computer or ASI (HK).
25    Moneual would sometimes use Dynazen HK., Ltd. (“Dynazen”) and Zalman Tech
26    Co., Ltd. (“Zalman”), rather than itself, to export goods to ASI, either directly, or
27    through one of the aforementioned intermediaries – CBMIE, Wanxing or KTN.
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                                                          - 26 -
      AMERICAS 94066627 (2K)                                                SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 28 of 53 Page ID
                                 #:12384


  1              88.           ASI Computer or ASI (HK), having purportedly “collected” the
  2   HTPCs from Moneual, Dynazen, Zalman, CNBM, Wanxing, or KTN, would sell
  3   the same HTPCs to various Hong Kong-based paper companies that were created or
  4   controlled by HS Park, such as: (i) Polaris, (ii) Worldwide Excellence Limited
  5   (“Worldwide”), (iii) Noble Link Limited (“Noble Link”), (iv) Prime Nation
  6   Limited (“Prime Nation”), (v) Multi Way Electronics Ltd (“Multi Way”), (vi)
  7   Pioneer Rich Group Limited (“Pioneer”), and (vii) Dragon Wisdom Industrial
  8   Limited (“Dragon Wisdom”). KEXIM is informed and believes and on that basis
  9   alleges that these paper companies were used to launder funds for the fraudulent
10    HTPC transactions, and to deceive banks (including KEXIM), accounting firms,
11    and related agencies into believing that Moneual transactions were legitimate.
12               89.           The above-mentioned paper companies, such as Worldwide or Dragon
13    Wisdom, would sell the HTPCs purchased from ASI Computer or ASI (HK) to
14    Brilliant Cosmos Limited (“Brilliant Cosmos”), another company used by HS Park
15    to circulate the HTPCs. KEXIM is informed and believes and on that basis alleges
16    that a separate company called Advance Global Group Pte. Ltd. (“Advance
17    Global”) acted in a role similar to Brilliant Cosmos. Brilliant Cosmos would sell
18    the HTPCs to either Amerex Corporation Limited (“Amerex”), another Hong
19    Kong-based paper company controlled by HS Park, or PK Paradigms, which
20    exported the same products back to Moneual in Korea.
21               90.           KEXIM is informed and believes and on that basis alleges that the
22    funds flowed in the opposite direction of the movement of the goods, so that money
23    was wired from (i) Moneual, Dynazen, or Zalman to (ii) Amerex or PK Paradigms
24    to (iii) Advance Global or Brilliant Cosmos to (iv) Polaris, Worldwide, Noble Link,
25    Prime Nation, Multi Way, Pioneer, or Dragon Wisdom to (v) ASI Computer or ASI
26    (HK) to (vi) the banks that factored Moneual’s receivables, either directly from ASI
27    Computer or ASI (HK), or through CBMIE, Wanxing, or KTN. However, it
28    appears that at times, certain paper companies acted in different capacities,

                                                        - 27 -
      AMERICAS 94066627 (2K)                                              SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 29 of 53 Page ID
                                 #:12385


  1   switching from customer to supplier, likely to vary the transactions and avoid
  2   suspicion.
  3              91.           The following is a diagram of the general funds flow that KEXIM is
  4   informed and believes and on that basis alleges occurred in the circular transactions
  5   involving ASI:
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22               92.           Defendant Frances Chou conspired with and assisted Moneual in
23    creating company websites for several paper companies, including Dragon
24    Wisdom. KEXIM is informed and believes and on that basis alleges that these
25    websites were fabricated to give the appearance that these paper companies were
26    legitimate businesses and not in fact paper companies formed solely to participate
27    in Moneual’s fraudulent scheme.
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                                                        - 28 -
      AMERICAS 94066627 (2K)                                             SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 30 of 53 Page ID
                                 #:12386


  1              93.           KEXIM is informed and believes and on that basis alleges that
  2   defendant Bill Chen, as Vice President of Finance, personally approved all of ASI’s
  3   Moneual-related payments.
  4              94.           Well before KEXIM began its factoring relationship with ASI,
  5   Moneual had already requested other banks in Korea such as Industrial Bank of
  6   Korea, Nonghyup Bank, KEB Hana Bank, and Kookmin Bank, among others, to
  7   factor numerous receivables from ASI. KEXIM is informed and believes and on
  8   that basis alleges that at some point between 2006 and 2010, and continuing until
  9   the scheme was uncovered in 2014, ASI issued fraudulent purchase orders for the
10    purported purchase of HTPCs and other goods manufactured by Moneual so that
11    Moneual could obtain loans from Korean banks and other financial institutions by
12    selling the export receivables backed by the fraudulent purchase order. By the time
13    KEXIM began factoring Moneual’s receivables from ASI, ASI was well
14    accustomed to Moneual’s factoring arrangements and knew or had reason to expect
15    that Moneual was transmitting its purchase orders to banks in Korea to receive
16    factoring advances. ASI had already received many standing payment instructions
17    from Moneual for each set of export receivables Moneual sold to the banks,
18    informing ASI that Moneual had designated a bank as its “payee and assignee” for
19    certain “sales contracts” – identified by purchase order numbers – and instructing it
20    to pay such bank directly when payment on its invoices came due. Because ASI
21    knew that Moneual was obtaining advances on its ASI receivables from multiple
22    financial institutions, it could reasonably expect that Moneual would seek export
23    trade financing for its ASI receivables from other financial institutions, including
24    KEXIM. ASI knew or should have known that Korean banks, including KEXIM,
25    would reasonably rely on the purchase orders issued by it in agreeing to purchase
26    Moneual’s export receivables from ASI.
27               95.           ASI’s bank records show that between 2010 and 2014, ASI sent
28    Korean banks countless wire transfers amounting to more than a billion dollars for

                                                        - 29 -
      AMERICAS 94066627 (2K)                                             SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 31 of 53 Page ID
                                 #:12387


  1   payment on the invoices pertaining to various sets of fraudulent purchase orders.
  2   Due to the nature of Moneual’s fraudulent circular transactions, even when ASI did
  3   receive goods from Moneual, the wire transfers did not reflect payment for genuine
  4   transactions. Based on ASI and the Individual Defendants’ lack of due diligence on
  5   any aspect of ASI’s transactions with Moneual, whether with respect to Moneual,
  6   the paper companies acting as customers for Moneual products, or the products
  7   themselves, ASI knew, and in fact did not care, that its transactions with Moneual
  8   were not genuine transactions. Defendant Christine Liang, who executed the
  9   Distribution Agreement with Moneual in 2007, authorized and approved the
10    fraudulent transactions with Moneual. Especially in light of the fact that ASI was
11    wiring hundreds of millions of dollars on an annual basis, it is inconceivable that
12    Christine Liang did not know of the fraudulent nature of ASI’s transactions with
13    Moneual.
14               96.           When ASI received the notification in December 2013 from Moneual
15    informing it that KEXIM would be factoring ASI’s receivables, ASI and the
16    Individual Defendants, as the executives and agents of ASI, should have disclosed
17    to KEXIM that ASI’s purchase orders did not represent genuine transactions. In
18    particular, defendant Henry Chen, who was responsible for authorizing and
19    releasing the purchase orders to Moneual, and defendant Frances Chou, who was
20    responsible for transmitting the purchase order numbers to Moneual, knew that the
21    purchase order numbers would be used to sell fraudulent receivables to KEXIM but
22    failed to disclose such fact.
23               97.           Further, when ASI arranged for ASI (HK) to make a wire transfer to
24    KEXIM for payment on the First Set of Purchase Orders, ASI and the Individual
25    Defendants, and in particular defendant Bill Chen who was ASI’s Vice President of
26    Finance at the time, knew that this wire transfer did not represent payment for
27    genuine transactions. Yet neither ASI nor the Individual Defendants disclosed that
28    the wire transfers represented payments for circular transactions, or in the

                                                        - 30 -
      AMERICAS 94066627 (2K)                                             SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 32 of 53 Page ID
                                 #:12388


  1   alternative that ASI was not receiving any goods in exchange for the wire transfer
  2   ASI (HK) made to KEXIM. ASI made payment on the First Set of Purchase Orders
  3   to create the illusion that its purchase orders represented genuine transactions, in
  4   order to deceive KEXIM into continuing to finance Moneual’s exports to ASI under
  5   the Second, Third, and Fourth Sets of Purchase Orders, thereby prolonging the
  6   fraudulent scheme.
  7              98.           The Korean authorities’ investigation also revealed that as part of
  8   Moneual’s scheme to defraud its lenders by obtaining money from them based on
  9   bogus export receivables from foreign importers, Moneual bribed executives and
10    employees of those foreign importers, including ASI, by paying kickbacks to those
11    persons, which HS Park called “commissions.”
12               99.           KEXIM is informed and believes and on that basis alleges that
13    Moneual calculated the “commissions” it paid to ASI by applying an agreed-upon
14    percentage to ASI’s monthly purchase amount from Moneual, and later, to ASI’s
15    quarterly or half-yearly purchase amount from Moneual.
16               100. KEXIM is informed and believes and on that basis alleges that
17    beginning in 2008, Moneual paid ASI a 1.5 percent commission. However, upon
18    information and belief, in 2012, at ASI’s request, Moneual reduced ASI’s
19    “commission” and began to pay personal “commissions,” calculated in the same
20    fashion, directly (or through intermediaries or family members, or to offshore
21    accounts) to officers, employees and agents of ASI including, among others, the
22    Individual Defendants.
23               101. HS Park testified in the Korean criminal proceedings that the
24    Individual Defendants were aware of the fraudulent scheme, and that they
25    demanded, received, and accepted millions in bribes from Moneual in return for
26    their active participation in the fraudulent scheme. Between 2012 and 2014,
27    defendants Bill Chen and Frances Chou emailed Moneual personnel, including HS
28    Park, numerous times to request that Moneual pay them personal “commissions.”

                                                         - 31 -
      AMERICAS 94066627 (2K)                                                SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 33 of 53 Page ID
                                 #:12389


  1   HS Park admitted that he remitted “commissions” to the Individual Defendants
  2   numerous times to keep the circular transactions going, which fact was further
  3   supported by testimony of other Moneual employees during the Korean criminal
  4   proceedings. KEXIM is informed and believes and on that basis alleges that
  5   Moneual paid each of the Individual Defendants, and each of the Individual
  6   Defendants accepted, in excess of $1 million in kickbacks between 2012 and 2014.
  7              102. A ledger detailing Moneual’s flow of funds for the circular
  8   transactions with ASI demonstrates that between 2012 and 2014, Moneual, through
  9   its paper companies, made multiple wire payments to the Individual Defendants or
10    their family members or designated companies. PK Paradigms was the primary
11    paper company Moneual used to pay kickbacks to the Individual Defendants. PK
12    Paradigms’s bank records support the kickbacks detailed in the ledger. KEXIM is
13    informed and believes and on that basis alleges that HS Park directed Jeff Kim, his
14    high school friend who managed the bank accounts of HS Park’s paper companies,
15    to make the commission payments by wiring funds from PK Paradigms or other
16    paper companies to the Individual Defendants’ bank accounts or to bank accounts
17    of companies they designated.
18               103. KEXIM is informed and believes and on that basis alleges that the
19    Individual Defendants also received payments in cash or cash equivalents from
20    Moneual. Based on the ledger and PK Paradigms’s bank records, many of such
21    payments appear to have been made from cash withdrawn from PK Paradigms’s
22    bank account.
23               104. Kickbacks received by the Individual Defendants include the
24    following:
25                             a. Defendant Bill Chen and/or his designated company received
26                                kickbacks on at least the following occasions: April 10, 2013
27                                ($40,000); July 8, 2013 ($60,000 and $129,500); October 4, 2013
28                                ($64,655 and $50,000); January 15, 2014 ($100,000); and January

                                                        - 32 -
      AMERICAS 94066627 (2K)                                              SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 34 of 53 Page ID
                                 #:12390


  1                               20, 2014 ($1,538,186). KEXIM is informed and believes and on
  2                               that basis alleges that most of the foregoing payments were made to
  3                               him in cash in person during his many meetings with HS Park.
  4                            b. Defendant Frances Chou and/or her designated relative received
  5                               wire transfers on at least the following occasions: October 10, 2012
  6                               ($48,000); November 2, 2012 ($35,158); November 30, 2012
  7                               (14,680); January 3, 2013 ($13,125); February 1, 2013 ($21,985);
  8                               March 4, 2013 ($110,958); April 3, 2013 ($22,878); May 3, 2013
  9                               ($22,460); June 4, 2013 ($20,930); June 27, 2013 ($518,120);
10                                August 6, 2013 ($31,880); September 17, 2013 ($27,020); October
11                                3, 2013 ($27,485); January 13, 2014 ($34,030); February 17, 2014
12                                ($33,200); March 13, 2014 ($33,390); April 8, 2014 ($34,750); and
13                                May 7, 2014 ($34,910). PK Paradigms’s bank records show that
14                                some of the kickback payments were received by Mary Yeh, who
15                                KEXIM is informed and believes and on that basis alleges received
16                                the payments on behalf of Frances Chou.
17                             c. Defendants Henry Chen and Bill Chen received kickback payments
18                                by wire transfer to an account in the name of THC Ltd. on at least
19                                the following occasions: October 8, 2012 ($125,237); January 17,
20                                2013 ($183,499); April 5, 2013 ($112,091); July 2, 2013
21                                ($230,944); October 9, 2013 ($140,493); January 16, 2014
22                                ($156,364); and February 26, 2014 ($200,000). Both THC Ltd. and
23                                PK Paradigms’s bank records show that THC Ltd. received the
24                                aforementioned payments from PK Paradigms. Defendants Bill
25                                Chen and Henry Chen are each 50 percent shareholders of THC
26                                Ltd., which was incorporated in 2012. At the time of incorporation,
27                                THC Ltd. had a total paid-in capital of merely NTD$50,000 in
28                                cash, which is less than $1,700 based on current exchange rates.

                                                         - 33 -
      AMERICAS 94066627 (2K)                                               SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 35 of 53 Page ID
                                 #:12391


  1                               Under THC Ltd.’s articles of association, profits after tax and
  2                               statutory reserve are distributed to each shareholder in accordance
  3                               with the ratio of each shareholder’s capital contribution. KEXIM is
  4                               informed and believes and on that basis alleges that THC Ltd. was a
  5                               paper company established by defendants Bill Chen and Henry
  6                               Chen to receive kickbacks from Moneual for their assistance in its
  7                               fraud scheme.
  8                            d. Defendant Christine Liang and/or her paper company received wire
  9                               transfers on at least the following occasions: July 16, 2012
10                                ($996,335); October 15, 2012 ($450,000); October 19, 2012
11                                ($457,419); January 17, 2013 ($575,801); April 23, 2013
12                                ($199,613); July 12, 2013 ($1,719,414); October 18, 2013
13                                ($1,142,958); January 20, 2014 ($1,538,166); May 2, 2014
14                                ($1,166,152); July 28, 2014 ($1,515,594); and August 1, 2014
15                                ($25,967). KEXIM is informed and believes and on that basis
16                                alleges that some or all of the kickback payments Christine Liang
17                                received were wired to an account in the name of Berwick
18                                Resources Ltd, a Taiwanese company, which bank account was
19                                controlled by Tai-Ying Chu, Christine Liang’s sister, and Fang-
20                                Chiang Lee, Christine Liang’s nephew. The bank records of
21                                Berwick Resources Ltd., PK Paradigms, and Amerex show that
22                                Berwick Resources Ltd. received the aforementioned payments
23                                from PK Paradigms and Amerex.
24               105. Based on email communications between the Individual Defendants
25    and Moneual agents and employees, including HS Park, the Individual Defendants
26    met with HS Park multiple times over the course of ASI’s fraudulent transactions
27    with Moneual. KEXIM is informed and believes and on that basis alleges that HS
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                                                         - 34 -
      AMERICAS 94066627 (2K)                                               SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 36 of 53 Page ID
                                 #:12392


  1   Park and one or more of the Individual Defendants met on at least the following
  2   occasions:
  3                            a. HS Park and Frances Chou met on or about January 23-25, 2008, in
  4                               Taipei, Taiwan.
  5                            b. HS Park and Frances Chou met on or about August 17-20, 2009, in
  6                               Seoul, Korea.
  7                            c. HS Park and defendants Henry Chen, Bill Chen, and Frances Chou
  8                               met on or about November 24, 2009, in Northern California.
  9                            d. HS Park, Henry Chen and/or Bill Chen met on or about May 28-30,
10                                2010, in Seoul, Korea.
11                             e. HS Park and Frances Chou met on or about February 8-9, 2011, in
12                                Hong Kong.
13                             f. HS Park, Henry Chen and/or Bill Chen met on or about March 21,
14                                2011, in Hong Kong.
15                             g. HS Park, Henry Chen and/or Frances Chou met on or about June 1-
16                                3, 2011, in Taipei, Taiwan.
17                             h. HS Park and Bill Chen met during the week of December 12, 2011,
18                                in Northern California.
19                             i. HS Park and Christine Liang met on May 2, 2012, in Fremont,
20                                California.
21                             j. HS Park, Christine Liang, Henry Chen, and/or Frances Chou met
22                                on or about June 4, 2012, in Taipei, Taiwan.
23                             k. HS Park and Bill Chen met on or about July 4-6, 2012, in Hong
24                                Kong.
25                             l. HS Park, Bill Chen and/or Frances Chou met on or about October
26                                25, 2012, in Northern California.
27                             m. HS Park, Henry Chen, and Frances Chou met on or about January
28                                7, 2013.

                                                            - 35 -
      AMERICAS 94066627 (2K)                                              SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 37 of 53 Page ID
                                 #:12393


  1                            n. Frances Chou and Moneual employees including Young-keun
  2                              Choi, Chul-wook Shin, Chang-il Choi, and/or Si-young Park in
  3                              June 2014, in Hong Kong.
  4              106. KEXIM is informed and believes and on that basis alleges that during
  5   some of these meetings, ASI, the Individual Defendants, Moneual, and HS Park
  6   discussed and negotiated the details of ASI and Moneual’s circular transactions and
  7   reached an agreement to enter into fraudulent transactions designed to defraud
  8   banks, including KEXIM, financing Moneual’s export receivables. KEXIM is
  9   informed and believes and on that basis alleges that during some of these meetings,
10    HS Park also paid kickbacks to some or all of the Individual Defendants in cash or
11    cash equivalents.
12               107. ASI’s participation in the fraudulent scheme to defraud KEXIM was
13    systemic and institutional, involving multiple officers, employees, and agents of the
14    company who participated in laundering money and creating and concealing
15    fraudulent transactions with Moneual. The scheme was condoned at the highest
16    levels of the company by virtue of the involvement of ASI’s most senior officers
17    including its President, Christine Liang, and its Vice Presidents Bill Chen and
18    Henry Chen.
19               108. HS Park was convicted in the Seoul Central District Court of
20    defrauding ten Korean banks, including KEXIM, of over $3 billion between 2007
21    and 2014 based on loans that Moneual received for fraudulent export contracts. On
22    October 16, 2015, HS Park was sentenced to 15 years in prison, and fines and
23    forfeitures of approximately $35 million. He is currently serving his sentence.
24               109. KEXIM is informed and believes and on that basis alleges that other
25    employees or executives of Moneual have also been convicted of fraud based on
26    their participation in the fraudulent schemes of Moneual and HS Park to defraud
27    Moneual’s lenders.
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                                                      - 36 -
      AMERICAS 94066627 (2K)                                           SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 38 of 53 Page ID
                                 #:12394


  1                                        FIRST CLAIM FOR RELIEF
  2                                                    (Fraud)
  3                                           (Against All Defendants)
  4              110. KEXIM realleges the allegations of paragraphs 1 through 109 and
  5   incorporates those allegations here as if fully set forth.
  6              111. While engaging in and carrying out the course of conduct alleged
  7   above, Moneual and ASI made numerous misrepresentations of material fact to
  8   KEXIM, and/or concealed from or failed to disclose to KEXIM facts that would
  9   have been material to KEXIM’s decision to engage in its factoring relationship with
10    Moneual, and/or that were necessary to make the statements of Moneual and ASI
11    not misleading.
12               112. Based on these misrepresentations, KEXIM agreed to purchase
13    Moneual’s right to payment from ASI for the export receivables described herein.
14    Shortly after KEXIM entered into the initial EFA with Moneual in December 2013,
15    Moneual sent ASI Computer a notification informing ASI Computer that it should
16    make payments on Moneual’s invoices directly to KEXIM. This assignment was
17    acknowledged by Frances Chou as “Director” on behalf of ASI. An essentially
18    identical notification of assignment was again acknowledged by Frances Chou as
19    “Director” on behalf of ASI in 2014. These assignments established a commercial
20    relationship between ASI and KEXIM, and ASI then transacted directly with
21    KEXIM by making payment to KEXIM for the First Set of Purchase Orders as
22    described herein, pursuant to these assignments.
23               113. ASI’s misrepresentations, concealments, and failures to disclose
24    included, among others, the following:
25                             a. ASI issued multiple sets of purchase orders that Moneual used to
26                                secure advances from KEXIM even though Moneual was either
27                                exporting recycled products or only transferring ownership of the
28                                products on paper without physical shipment to ASI. ASI would not

                                                        - 37 -
      AMERICAS 94066627 (2K)                                              SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 39 of 53 Page ID
                                 #:12395


  1                            have issued those purchase orders unless it intended to deceive
  2                            KEXIM into providing financing to Moneual for nonexistent
  3                            transactions. Prior to KEXIM’s factoring arrangements with
  4                            Moneual, ASI knew or had reason to expect that Moneual was
  5                            transmitting its purchase orders to banks because since at least
  6                            2010, ASI had been receiving numerous standing payment
  7                            instructions from Moneual alerting ASI that Moneual was assigning
  8                            the export receivables, or “sales contracts” represented by the
  9                            purchase orders and invoices, to various Korean banks. Also, ASI
10                             had acknowledged and consented to those assignments of export
11                             receivables backed by the purchase orders. ASI knew or should
12                             have known that since at least 2010, banks were reasonably relying
13                             on the purchase orders in agreeing to purchase ASI receivables
14                             under export factoring agreements with Moneual. Because ASI
15                             knew that Moneual was obtaining advances on its ASI receivables
16                             from multiple financial institutions, it could reasonably expect that
17                             Moneual would seek export trade financing for its ASI receivables
18                             from other financial institutions, including KEXIM. ASI knew that
19                             KEXIM was relying on the genuineness of its purchase orders
20                             when it received the December 2013 notification from Moneual
21                             that its receivables were being assigned to KEXIM and that it
22                             should make payments on Moneual’s invoices directly to KEXIM.
23                             Nevertheless, ASI did not inform KEXIM that its receipt of the
24                             HTPCs were part of a fraudulent scheme involving circular
25                             transactions, or in the alternative that it was no longer receiving the
26                             goods described in the purchase orders it issued or assisted
27                             Moneual in issuing or fabricating;
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                                                       - 38 -
      AMERICAS 94066627 (2K)                                             SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 40 of 53 Page ID
                                 #:12396


  1                            b. The Supply Agreement required ASI Corp. to purchase an
  2                              unrealistically high quantity of goods from Moneual – $200 million
  3                              in the first year of the Supply Agreement and $400 million in the
  4                              second – that was either impossible for ASI Corp. to meet or would
  5                              have been onerous given the size and condition of ASI Corp.’s
  6                              business;
  7                            c. The HTPCs that ASI Computer was purportedly buying from
  8                              Moneual were priced at an amount nearly 400 times their actual
  9                              market value. No business of the size, breadth, history, and
10                               experience of ASI could legitimately have judged that the products
11                               were worth the nearly $3,000 per unit that ASI Computer was
12                               supposedly paying for them, and no such business would have
13                               bought the products at that inflated price, unless it intended to
14                               create the illusion of extensive, profitable, high-value commerce
15                               between it and its supplier for the purpose of defrauding lenders
16                               into supporting the transactions;
17                             d. In May 2014, KS Kang of Moneual contacted KEXIM requesting
18                               that it reevaluate ASI’s creditworthiness in connection with
19                               Moneual’s application for factoring its export receivables due from
20                               ASI. KS Kang informed KEXIM that ASI had provided HS Park
21                               an updated D&B credit rating report, and that ASI’s new ratings
22                               had improved. KEXIM had previously alerted Moneual that it
23                               could not proceed with its factoring application because ASI’s
24                               credit ratings did not meeting internal requirements. KEXIM
25                               reviewed D&B’s new credit rating on ASI and relied on such
26                               information to enter into its factoring agreement with Moneual.
27                               ASI knew that KEXIM would consider its credit rating in deciding
28                               whether to factor Moneual’s receivables due from ASI. ASI also

                                                         - 39 -
      AMERICAS 94066627 (2K)                                               SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 41 of 53 Page ID
                                 #:12397


  1                              knew that its credit rating was based on false information – its
  2                              financial information, which D&B used to assess its credit rating,
  3                              was based on vastly inflated sales resulting from hundreds of
  4                              millions dollars’ worth of fraudulent transactions with Moneual.
  5                              The fraudulent transactions made ASI appear to be a much larger
  6                              distributor than it would be if it was evaluated purely on its
  7                              legitimate business transactions;
  8                            e. On November 19 and 22, 2013, Bill Chen sent ASI’s 2010-2012
  9                              balance sheets, income statements, and auditor’s cover letter and
10                               opinion to KEXIM. ASI knew that KEXIM would be reviewing
11                               ASI’s financial statements as part of its due diligence on ASI’s
12                               creditworthiness in connection with KEXIM’s review of Moneual’s
13                               factoring application. The financial statements sent by Bill Chen
14                               incorporated voluminous fictitious and/or fraudulent transactions
15                               between ASI and Moneual, thereby significantly inflating ASI’s
16                               income statement figures. ASI knew that its financial statements
17                               were inaccurate and gave the false appearance that its distribution
18                               business was larger than reality. ASI and the Individual Defendants
19                               did not disclose this fact to KEXIM, and KEXIM had no basis to
20                               suspect that ASI’s financial statements were inflated. KEXIM
21                               reasonably relied on the financial statements in approving
22                               Moneual’s application for KEXIM to factor its receivables due
23                               from ASI;
24                             f. Moneual provided KEXIM with the November 20, 2013 KSURE
25                               certification document which purported to show a business
26                               relationship between Moneual and ASI Computer involving
27                               payment in full of tens of millions of dollars per year, figures which
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                                                         - 40 -
      AMERICAS 94066627 (2K)                                               SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 42 of 53 Page ID
                                 #:12398


  1                               were false and known to Moneual to be false when provided to
  2                               KEXIM;
  3                            g. ASI Computer issued the Second and Third Sets of Purchase
  4                               Orders in April and May 2014, well after it had purportedly
  5                               received the goods from its First Set of Purchase Orders (in or
  6                               about December 2013) and at a time when it knew or should have
  7                               known that the HTPCs were wildly overpriced relative to their
  8                               actual worth. ASI Computer would not have issued those purchase
  9                               orders, in the amount of nearly $30 million, unless it intended to
10                                deceive KEXIM into providing financing to Moneual for
11                                nonexistent transactions;
12                             h. In June 2014, ASI sent to KEXIM by wire transfer, from an
13                                account of its Hong Kong affiliate, approximately $12 million in
14                                payment for the invoices pertaining to the First Set of Purchase
15                                Orders. Due to the nature of Moneual’s fraudulent scheme, based
16                                on circular transactions, Moneual may never have actually
17                                physically shipped the HTPCs to ASI Computer. ASI knew that
18                                the wire transfer did not represent payment for genuine
19                                transactions, and it knew that KEXIM was receiving the payment
20                                because ASI (HK), its affiliate, transmitted them directly to the
21                                banks. ASI made its June 2014 payment for the purpose of creating
22                                for KEXIM the illusion that the First Set of Purchase Orders
23                                represented a genuine transaction, in order to deceive KEXIM into
24                                continuing to finance Moneual’s exports to ASI Computer, thereby
25                                prolonging the fraudulent scheme;
26                             i. On or about July 13, 2014, Bill Chen, an officer of ASI Computer,
27                                stated in writing to KEXIM that Moneual was “one of [ASI’s] most
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                                                         - 41 -
      AMERICAS 94066627 (2K)                                               SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 43 of 53 Page ID
                                 #:12399


  1                               significant supplier[s]” and represented that ASI Computer had
  2                               numerous pending purchase orders with Moneual;
  3                            j. In that same letter, Bill Chen, an officer of ASI Computer,
  4                               expressly confirmed that Frances Chou was a director of ASI
  5                               Computer, affirmed her authority to enter into the transactions with
  6                               Moneual represented by the purported purchase orders, and assured
  7                               KEXIM that documentation and follow-up actions in which she
  8                               was involved were “totally valid”;
  9                            k. Henry Chen, an officer of ASI Computer, represented to KEXIM
10                                on at least three occasions, in October and in December 2014, that
11                                both Bill Chen and Frances Chou were directors, officers, or
12                                authorized agents of ASI Computer, and did not disclose any limits
13                                on the authority of either one with regard to the Moneual
14                                transactions.
15               114. Moneual and ASI made each of the misrepresentations set forth in
16    paragraphs 113(a)-(k) with knowledge of its falsity, and with the intent to deceive
17    KEXIM, by inducing KEXIM to advance millions of dollars to Moneual against
18    fraudulent receivables that ASI Computer had neither the intent, nor the ability, to
19    pay.
20               115. The misrepresentations and deceit directed at KEXIM were known or
21    condoned at the highest levels of ASI’s institutional structure. ASI’s most senior
22    officers and agents, including its President, Christine Liang; its Vice Presidents Bill
23    Chen and Henry Chen; and its agent and director, Frances Chou, participated in the
24    fraudulent scheme to defraud KEXIM, and conspired with and aided and abetted
25    Moneual to carry out the fraudulent scheme by, among other things, the following:
26                             a. Defendant Christine Liang, the President of ASI, agreed to enter
27                                into fraudulent transactions with Moneual when she executed the
28                                Distribution Agreement in 2007, and in fact had no interest in

                                                         - 42 -
      AMERICAS 94066627 (2K)                                               SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 44 of 53 Page ID
                                 #:12400


  1                               having any legitimate business relationship with Moneual as she
  2                               performed no due diligence on the company or its products prior to
  3                               or after the execution of the Distribution Agreement; met with HS
  4                               Park in person on multiple occasions to collude on the fraud
  5                               scheme to defraud banks, including KEXIM; reviewed and
  6                               approved ASI’s inflated financial statements that incorporated
  7                               hundreds of millions of dollars’ worth of fraudulent transactions
  8                               with Moneual even though she knew or had reason to know that
  9                               they would be shared with banks and credit agencies as part of their
10                                review of ASI’s creditworthiness in connection with the banks’
11                                decision to factor Moneual’s receivables due from ASI; and
12                                received kickbacks from Moneual in amounts that KEXIM is
13                                informed and believes exceeded $9 million, paid to the account of
14                                Berwick Resources Ltd. which she controlled through her family
15                                members;
16                             b. Bill Chen, ASI’s Vice President of Finance, participated in
17                                numerous communications and transactions with Moneual and its
18                                agents regarding transferring funds among ASI, Moneual, and
19                                multiple sham corporations set up by Moneual as part of the
20                                circular transactions that were the essence of the fraudulent scheme;
21                                colluded with Moneual and its agents to set up sham entities as
22                                customers or vendors of ASI as part of the circular transactions, to
23                                convey false information to KEXIM, and to conceal negative
24                                information from becoming publicly known; sent KEXIM as well
25                                as credit rating agencies whose ratings Bill Chen knew KEXIM
26                                would rely on in assessing ASI’s creditworthiness, ASI’s financial
27                                statements that had been vastly inflated by including hundreds of
28                                millions of dollars’ worth of fraudulent transactions with Moneual,

                                                         - 43 -
      AMERICAS 94066627 (2K)                                               SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 45 of 53 Page ID
                                 #:12401


  1                               and which financial statements he reviewed and approved and knew
  2                               were false; requested kickbacks from Moneual personnel, including
  3                               HS Park, for ASI and the Individual Defendants’ participation in
  4                               the fraud scheme; met with HS Park in person on multiple
  5                               occasions to collude on the fraud scheme to defraud banks,
  6                               including KEXIM; and received kickbacks from Moneual in
  7                               amounts that KEXIM is informed and believes exceeded $1
  8                               million;
  9                            c. Henry Chen, ASI’s Vice President of Business Development,
10                                communicated directly with agents of Moneual regarding
11                                submitting fraudulent purchase orders to Moneual and other entities
12                                regarding structuring the circular transactions that were the essence
13                                of the fraudulent scheme; released (with proper authority) ASI’s
14                                purchase order numbers comprising the First, Second, Third, and
15                                Fourth Sets of Purchase Orders to Moneual with knowledge that
16                                these purchase order numbers would be used to create fictitious
17                                purchase orders used to sell fraudulent receivables to banks such as
18                                KEXIM; supervised defendant Frances Chou’s material assistance
19                                to Moneual in the fraud scheme; met with HS Park in person on
20                                multiple occasions to collude on the fraud scheme to defraud banks,
21                                including KEXIM; and received kickbacks from Moneual in
22                                amounts that KEXIM is informed and believes exceeded $1
23                                million;
24                             d. Frances Chou, ASI’s director and its employee or agent, provided
25                                material assistance to Moneual by creating sham entities to
26                                participate in the circular transactions, developing web pages for
27                                those sham entities to give them the appearance of genuine
28                                companies, and participating in or orchestrating the submission of

                                                         - 44 -
      AMERICAS 94066627 (2K)                                               SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 46 of 53 Page ID
                                 #:12402


  1                            fraudulent purchase orders and the transfer of funds among ASI,
  2                            Moneual, and multiple sham corporations set up by Moneual as part
  3                            of the circular transactions that were the essence of the fraudulent
  4                            scheme; met with HS Park in person on multiple occasions to
  5                            collude on the fraud scheme to defraud banks, including KEXIM;
  6                            and received kickbacks from Moneual in amounts that KEXIM is
  7                            informed and believes exceeded $1 million.
  8              116. KEXIM relied on the representations of Moneual and ASI set forth
  9   above in determining, first, to enter into the EFA with Moneual for the ASI
10    Computer receivables, and, second, to advance a total of approximately $52 million
11    to Moneual against purported receivables which Moneual and ASI Computer knew
12    to be fraudulent. KEXIM would not have entered into the EFA, or advanced
13    money thereunder to Moneual, if KEXIM had known that the purchase orders that
14    ASI Computer issued for Moneual HTPCs were fraudulent or that Moneual was
15    engaged in a massive scheme to defraud KEXIM and numerous other banks by
16    conspiring with foreign importers such as ASI Computer to create the illusion that
17    Moneual was exporting millions of dollars of goods in legitimate business
18    transactions.
19               117. KEXIM justifiably relied on the representations of Moneual and ASI
20    in that KEXIM conducted a commercially reasonable investigation into the
21    business of its customer Moneual and the creditworthiness of Moneual’s customer
22    ASI and reasonably determined, based on information which turned out to be false,
23    that Moneual’s business was legitimate and would support the factoring agreement
24    for Moneual’s receivables. KEXIM also conducted a customary and market-
25    standard review of the purchase orders and other documentation backing the export
26    receivables, and justifiably relied on the statements made in those documents
27    concerning the price, quantity ordered, and shipment of the goods. Although those
28    statements turned out to be false, their falsity could not be determined from the face

                                                      - 45 -
      AMERICAS 94066627 (2K)                                             SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 47 of 53 Page ID
                                 #:12403


  1   of the documents. Further, from all external indications, ASI was a profitable,
  2   reputable company with over $1 billion in revenue and multiple locations
  3   worldwide that engaged in distributing the types of goods Moneual purported to be
  4   selling. Given the size, breadth, history and experience of ASI in the relevant
  5   industry, KEXIM had no reason to doubt that the products were worth the nearly
  6   $3,000 per unit that ASI was supposedly paying for them. Further, KEXIM
  7   received timely payment from ASI for the export receivables under the First Set of
  8   Purchase Orders. Thus, KEXIM had no reason to suspect that ASI was engaged in
  9   a scheme to defraud it until after it had purchased additional receivables from
10    Moneual and Korean authorities uncovered the fraudulent scheme.
11               118. In addition to defrauding KEXIM directly by making the
12    misrepresentations alleged above, the defendants rendered substantial assistance to
13    HS Park and Moneual to enable them to carry out the scheme to defraud Moneual’s
14    lenders, including KEXIM.
15               119. ASI rendered such assistance by, among other actions:
16                             a. entering into the Supply Agreement with Moneual on unmeetable
17                                or onerous terms calling for the minimum purchase of hundreds of
18                                millions of dollars of Moneual products even though it was no
19                                longer receiving any products from Moneual when it entered into
20                                the Supply Agreement;
21                             b. furnishing KEXIM and credit rating agencies with ASI’s financial
22                                statements which were largely inflated to reflect the voluminous
23                                fictitious and/or fraudulent transactions between ASI and Moneual;
24                             c. issuing purchase orders for nearly 18,000 units of HTPCs at
25                                enormously inflated prices relative to their true value, enabling
26                                Moneual to use those purported purchase orders to induce KEXIM
27                                to enter into the EFA, progressively raise Moneual’s credit limit to
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                                                         - 46 -
      AMERICAS 94066627 (2K)                                                SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 48 of 53 Page ID
                                 #:12404


  1                               $40 million, and ultimately advance that sum to Moneual against
  2                               fraudulent receivables;
  3                            d. paying KEXIM in respect of Moneual’s purported receivable on the
  4                               First Set of Purchase Orders, thereby enabling Moneual to construct
  5                               and prolong its deceptive scheme;
  6                            e. suffering or permitting their executives, officers, and employees to
  7                               receive millions of dollars in bribes in the form of kickbacks from
  8                               Moneual; and
  9                            f. assuring KEXIM on multiple occasions that ASI Computer had a
10                                genuine business relationship with Moneual, that the purported
11                                purchase orders that ASI Computer issued for Moneual products
12                                were authentic and authorized, and that actions taken by Frances
13                                Chou were “totally valid,” all as set forth more particularly above.
14               120. The Individual Defendants rendered such assistance by, among other
15    actions:
16                             a. colluding with Moneual to set up sham entities to act as customers
17                                or vendors of ASI for the purpose of facilitating the circular
18                                transactions;
19                             b. preparing and/or approving ASI’s financial statements which were
20                                largely inflated to reflect the voluminous fictitious and/or
21                                fraudulent transactions between ASI and Moneual and furnishing
22                                such false financial statements to KEXIM and credit rating agencies
23                                for credit analyses;
24                             c. submitting false and fraudulent purchase orders to Moneual and
25                                other entities to create the appearance of legitimate transactions that
26                                Moneual would use to obtain financing from KEXIM;
27                             d. directing or orchestrating the transfer of funds among ASI,
28                                Moneual, and multiple sham corporations that constituted the

                                                            - 47 -
      AMERICAS 94066627 (2K)                                                SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 49 of 53 Page ID
                                 #:12405


  1                              circular transactions that were the essence of the fraudulent scheme;
  2                              and
  3                            e. accepting bribes and kickbacks from Moneual amounting to
  4                              millions of dollars in exchange for concealing the nature and extent
  5                              of the massive fraudulent scheme.
  6              121. KEXIM is informed and believes and on that basis alleges that ASI,
  7   through their directors, officers, employees, and agents, including without
  8   limitation the Individual Defendants, and the Individual Defendants personally, had
  9   actual knowledge of the fraudulent scheme perpetrated against Moneual’s lenders,
10    including KEXIM, at the time that ASI and the Individual Defendants rendered
11    each act substantially assisting Moneual and its executives, including HS Park, to
12    carry out their fraudulent scheme. Each of the defendants therefore aided and
13    abetted Moneual and HS Park in the scheme to defraud KEXIM.
14               122. KEXIM is informed and believes and on that basis alleges that ASI
15    and the Individual Defendants shared with Moneual and its executives, including
16    HS Park, a common plan or design to defraud Moneual’s lenders, including
17    KEXIM. In furtherance of that common plan or design, ASI and the Individual
18    Defendants conspired with Moneual and HS Park to defraud KEXIM by engaging
19    in the acts and making the representations alleged above. Each of the defendants is
20    therefore liable to the same extent as Moneual and HS Park for the damages
21    KEXIM sustained as a result of the scheme to defraud it.
22               123. As a result of the foregoing misrepresentations, concealments, and
23    nondisclosures made to KEXIM, and KEXIM’s reliance thereon, KEXIM has been
24    damaged in a minimum amount of $39,991,600, plus interest according to proof.
25               124. KEXIM is informed and believes and on that basis alleges that ASI,
26    through their officers, directors, or managing agents, each had advance knowledge
27    of the unfitness of its employees and agents, and employed them with an intent to
28    deceive and/or with a conscious disregard of the rights of others, including KEXIM,

                                                        - 48 -
      AMERICAS 94066627 (2K)                                              SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 50 of 53 Page ID
                                 #:12406


  1   and that each authorized and ratified the fraudulent conduct of its employees and
  2   agents as alleged herein. KEXIM is therefore entitled to exemplary damages
  3   against ASI, in an amount sufficient to punish the defendants and deter similar
  4   conduct in the future.
  5              125. By virtue of their actions as alleged herein, each of the Individual
  6   Defendants has engaged in acts of malice and fraud directed at KEXIM. KEXIM is
  7   therefore entitled to exemplary damages against each Individual Defendant, in an
  8   amount sufficient to punish the defendants and deter similar conduct in the future.
  9                                    SECOND CLAIM FOR RELIEF
10                                      (Negligent Misrepresentation)
11                             (Against Defendants ASI Corp. and ASI Computer)
12               126. KEXIM realleges the allegations of paragraphs 1 through 125 and
13    incorporates those allegations here as if fully set forth.
14               127. The statements and representations of Moneual and ASI as set forth
15    above were untrue. Moneual and ASI made those statements and representations
16    with no reasonable ground for believing them to be true, and with the intent to
17    induce KEXIM to rely upon them. KEXIM was unaware of the falsity of those
18    statements and representations, and justifiably relied on those statements and
19    representations in determining, first, to enter into the EFA with Moneual for the
20    ASI Computer receivables, and, second, to advance a total of approximately $52
21    million to Moneual against purported receivables which Moneual and ASI either
22    knew to be fraudulent or had no reasonable grounds to believe were genuine.
23               128. As a proximate result of KEXIM’s reliance on the truth of the
24    statements and representations of ASI, and their other acts and omissions as alleged
25    above, KEXIM has been damaged in a minimum amount of $39,991,600, plus
26    interest according to proof.
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                                                   - 49 -
      AMERICAS 94066627 (2K)                                        SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 51 of 53 Page ID
                                 #:12407


  1                                        THIRD CLAIM FOR RELIEF
  2                                            (Negligent Supervision)
  3                             (Against Defendants ASI Corp. and ASI Computer)
  4              129. KEXIM realleges the allegations of paragraphs 1 through 128 and
  5   incorporates those allegations here as if fully set forth.
  6              130. KEXIM is informed and believes and on that basis alleges that ASI
  7   negligently trained, managed, supervised, and retained their officers, employees and
  8   agents, including without limitation defendants Christine Liang, Frances Chou, Bill
  9   Chen, and Henry Chen, as to the performance of their job duties, including the
10    formation of agreements with suppliers, the issuance of purchase orders, and
11    communications with creditors including KEXIM. KEXIM is informed and
12    believes and on that basis alleges that ASI knew or should have known that their
13    officers, employees and agents were or may have been unfit or incompetent to
14    properly carry out their job duties, including those duties specified herein, and
15    failed to adequately supervise their actions.
16               131. As a result of the negligent supervision by ASI of their officers,
17    employees and agents, ASI was enabled to take the actions described above
18    including, among other actions:
19                             a. entering into the Supply Agreement with Moneual on unmeetable
20                                or onerous terms calling for the minimum purchase of hundreds of
21                                millions of dollars of Moneual products;
22                             b. furnishing KEXIM and credit rating agencies with ASI’s financial
23                                statements which were largely inflated to reflect the voluminous
24                                fictitious and/or fraudulent transactions between ASI and Moneual;
25                             c. issuing purchase orders for nearly 18,000 units of HTPCs at
26                                enormously inflated prices relative to their true value, enabling
27                                Moneual to use those purported purchase orders to induce KEXIM
28                                to enter into the EFA, progressively raise Moneual’s credit limit to

                                                         - 50 -
      AMERICAS 94066627 (2K)                                                 SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 52 of 53 Page ID
                                 #:12408


  1                               $40 million, and ultimately advance that sum to Moneual against
  2                               fraudulent receivables;
  3                            d. paying KEXIM in respect of Moneual’s purported receivable on the
  4                               First Set of Purchase Orders, thereby enabling Moneual to construct
  5                               and prolong its deceptive scheme;
  6                            e. suffering or permitting their executives, officers, and employees to
  7                               receive millions of dollars in bribes in the form of kickbacks from
  8                               Moneual; and
  9                            f. assuring KEXIM on multiple occasions that ASI Computer had a
10                                genuine business relationship with Moneual, that the purported
11                                purchase orders that ASI Computer issued for Moneual products
12                                were authentic and authorized, and that actions taken by Frances
13                                Chou were “totally valid,” all as set forth more particularly above.
14               132. The negligence of ASI, as alleged above, proximately caused damage
15    to KEXIM in a minimum amount of $39,991,600, plus interest according to proof.
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                                                            - 51 -
      AMERICAS 94066627 (2K)                                               SECOND AMENDED COMPLAINT
Case 2:16-cv-02056-MWF-JPR Document 278 Filed 02/13/18 Page 53 of 53 Page ID
                                 #:12409


  1                                      PRAYER FOR RELIEF
  2              WHEREFORE, KEXIM seeks judgment against defendants as follows:
  3              1. For compensatory damages according to proof, in the approximate
  4                    amount of $40,000,000;
  5              2. For interest thereon at the legal rate;
  6              3. On the First Claim for Relief, for exemplary damages according to proof;
  7              4. For its reasonable attorneys’ fees;
  8              5. For its costs of suit; and
  9              6. For such other and further relief as the Court deems fit.
10    Dated: February 13, 2018                       WHITE & CASE LLP
11
12
                                                     By:      /s/ Bryan A. Merryman
13                                                              Bryan A. Merryman
14
                                                              Attorneys for Plaintiff
15                                                            THE EXPORT-IMPORT BANK
16                                                            OF KOREA
17
18                                   DEMAND FOR JURY TRIAL
19               Pursuant to Federal Rule of Civil Procedure 38 and Local Rule 38-1, KEXIM
20    demands a trial by jury of all issues so triable.
21
      Dated: February 13, 2018                       WHITE & CASE LLP
22
23
24                                                   By:      /s/ Bryan A. Merryman
                                                               Bryan A. Merryman
25
26                                                            Attorneys for Plaintiff
                                                              THE EXPORT-IMPORT BANK
27
                                                              OF KOREA
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                                                   - 52 -
      AMERICAS 94066627 (2K)                                        SECOND AMENDED COMPLAINT
